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                                           #:10

 1 Frank E. Melton (SBN 94134)
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 2 Heidy A. Flores (SBN 298926)
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 3 JACKSON LEWIS P.C.
   725 South Figueroa Street, Suite 2500
 4 Los Angeles, California 90017-5408
   Telephone: (213) 689-0404
 5 Facsimile: (213) 689-0430
 6 Attorneys for Defendant
   AFFINITIV, INC.
 7
 8                              UNITED STATES DISTRICT COURT
 9                             CENTRAL DISTRICT OF CALIFORNIA
10
11 AL MERIA ROBERTS, an Individual,                Case No.:
12                Plaintiff,
                                                   DECLARATION OF FRANK E.
13          vs.                                    MELTON IN SUPPORT OF
                                                   DEFENDANT’S NOTICE OF
14 AFFINITIV, INC., a Delaware                     REMOVAL
   Corporation; and DOES 1 through 25,
15 Inclusive,                                      [Filed Concurrently with Defendant’s
                                                   Notice of Removal; Declaration of Nathan
16                Defendants.                      Jaye; Civil Case Cover Sheet; Notice of
                                                   Interested Parties; and Corporate
17                                                 Disclosure Statement]
18                                                 Complaint filed: December 10, 2020
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      CASE NO:                                       DECLARATION OF FRANK E. MELTON IN
                                                       SUPORT OF DEFENDANT’S NOTICE OF
                                                                              REMOVAL
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 1                               DECLARATION OF FRANK E. MELTON
 2           I, Frank E. Melton, being duly sworn, declare and state as follows:
 3           1.     I am one of the attorneys representing Defendant Affinitiv, Inc.
 4    (“Defendant” or “Affinitiv”). I have personal knowledge as to the matters set forth
 5    herein and, if called to testify in this matter, I could and would competently testify
 6    thereto.
 7           2.     On December 10, 2020, Plaintiff Al Meria Roberts (“Plaintiff”) filed a
 8    Complaint against Defendant in the Los Angeles County Superior Court, bearing Case
 9    No. 20STCV47289. True and correct copies of the Summons, Complaint, Notice of Case
10    Assignment and other initial case documents are attached hereto as Exhibit A.
11           3.     On December 15, 2020, based on documentation sent to me by our client,
12    Plaintiff served the Summons and Complaint on Affinitiv in the above-entitled action.
13           4.     On January 13, 2021, Affinitiv filed its Answer in the state court action. A
14    true and correct copy of Affinitiv’s Answer is attached hereto as Exhibit B.
15           5.     As of the signing of this declaration, Exhibits A through C constitute all of
16    the filings in state court in this matter.
17           6.     I am lead counsel for Defendant in this case and have represented employers
18    in employment litigation for over 38 years in California and am familiar with fees
19    requested by plaintiffs’ counsel in actions filed in California and federal courts alleging
20    violations of the California Fair Employment and Housing Act and related claims.
21           7.     Prior to filing Defendant’s Notice of Removal, I caused a search to be
22    conducted for Plaintiff’s counsel, Rodney Mesriani and Cory Gould on the California
23    State Bar website. The State Bar website reflects that Mr. Mesriani was admitted to
24    practice law in 1996 and Mr. Gould in 2019.            See California State Bar Website
25    http://members.calbar.ca.gov/fal/Licensee/Detail/184875, last visited January 12, 2021;
26    See also http://members.calbar.ca.gov/fal/Licensee/Detail/329550, last visited January
27    12, 2021.
28           8.     Based on Plaintiff’s attorneys’ collective experience and Plaintiff’s
      CASE NO.:                                    2    DECLARATION OF FRANK E. MELTON IN
                                                          SUPORT OF DEFENDANT’S NOTICE OF
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 1    allegations, I believe it would not be unreasonable to expect that Plaintiff’s attorneys’
 2    fees through trial would exceed the sum of $100,000.
 3             I declare under penalty of perjury and under the laws of the United States and
 4    California that the foregoing is true and correct to the best of my knowledge and belief.
 5             Executed this 14th day of January, 2021 at Los Angeles, California.
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 7                                                         /s/ Frank E. Melton
                                                           FRANK E. MELTON
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      4833-7655-3686, v. 1

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      CASE NO.:                                    3     DECLARATION OF FRANK E. MELTON IN
                                                           SUPORT OF DEFENDANT’S NOTICE OF
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                   EXHIBIT B
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Electronically FILED by Superior Court of California, County of Los Angeles on 01/13/2021 05:34 PM Sherri R. Carter, Executive Officer/Clerk of Court, by R. Yanez,Deputy Clerk

         1      Frank E. Melton (SBN 94134)
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         2      Heidy A. Flores (SBN 298926)
                Heidy.Flores@jacksonlewis.com
         3      JACKSON LEWIS P.C.
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         4      Los Angeles, California 90017-5408
                Telephone: (213) 689-0404
         5      Facsimile: (213) 689-0430

         6      Attorneys for Defendant
                AFFINITIV, INC.
         7

         8                                         SUPERIOR COURT OF THE STATE OF CALIFORNIA

         9                                                     FOR THE COUNTY OF LOS ANGELES

       10

       11       AL MERIA ROBERTS, an individual,                                                  CASE NO. 20STCV47289

       12                                    Plaintiff,                                           [Case Assigned for All Purposes to the
                                                                                                  Hon. Mark V. Mooney Department 68]
       13                              vs.

       14       AFFINITIV, INC., a Delaware Corporation and                                       DEFENDANT’S ANSWER TO PLAINTIFF’S
                DOES 1-25, inclusive,                                                             COMPLAINT FOR DAMAGES
       15
                                             Defendants.
       16                                                                                         Complaint Filed: December 10, 2020

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       21                  Defendant AFFINITIV, INC., a Delaware corporation (“Defendant”), answers the unverified

       22       complaint filed by Plaintiff AL MERIA ROBERTS (“Plaintiff”) as follows:

       23                                                                      GENERAL DENIAL

       24                  Under California Code of Civil Procedure § 431.30(d), Defendant denies, generally and

       25       specifically, each and every allegation contained in the Complaint and denies that Plaintiff has suffered

       26       any injury or been damaged in any sum whatsoever.

       27       ///

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                                             DEFENDANT’S ANSWER TO PLAINTIFF’S COMPLAINT FOR DAMAGES
     Case 2:21-cv-00386-ODW-GJS             Document 1-1        Filed 01/14/21      Page 66 of 71 Page
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 1                                          AFFIRMATIVE DEFENSES

 2           As separate and distinct affirmative defenses to Plaintiff’s Complaint and the causes of action

 3    alleged therein, and to each of them, Defendant alleges as follows:

 4                                      FIRST AFFIRMATIVE DEFENSE

 5                                      (Failure to State a Cause of Action)

 6           1.      Defendant alleges the Complaint fails to state facts sufficient to constitute a cause of action

 7    upon which relief may be granted.

 8                                     SECOND AFFIRMATIVE DEFENSE

 9                                             (Statute of Limitations)

10           2.      Defendant alleges the causes of action set forth in the Complaint, and each of them, are

11    barred by the applicable statutes of limitations, including without limitation sections 335.1, 337, 338, 339,

12    340 and 343 of the California Code of Civil Procedure and sections 12960 and 12965 of the California

13    Government Code.

14                                      THIRD AFFIRMATIVE DEFENSE

15                                           (After-Acquired Evidence)

16           3.      To the extent discovery may disclose information which could serve as a basis for the

17    termination of Plaintiff’s employment, Plaintiff is barred from recovery, or her recovery of damages is

18    limited, based on such after-acquired evidence.

19                                    FOURTH AFFIRMATIVE DEFENSE
20                                                 (Mixed Motive)

21           4.      Recovery on Plaintiff's Complaint is barred because, assuming arguendo that

22    discriminatory reasons had been a motivating factor in any employment decisions toward Plaintiff,

23    Defendant would have made the same employment decisions toward Plaintiff in any event for legitimate,

24    non-discriminatory and non-retaliatory business reasons. See Harris v. City of Santa Monica (2013) 56

25    Cal.4th 203.

26                                      FIFTH AFFIRMATIVE DEFENSE

27                                (Failure to Exhaust Administrative Remedies)

28           5.      Plaintiff’s causes of action asserted under the California Fair Employment & Housing Act


                                                    2
                         DEFENDANT’S ANSWER TO PLAINTIFF’S COMPLAINT FOR DAMAGES
     Case 2:21-cv-00386-ODW-GJS             Document 1-1        Filed 01/14/21      Page 67 of 71 Page
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 1    (the “FEHA”) are barred to the extent that Plaintiff did not file a complaint with the California Department

 2    of Fair Employment & Housing and/or receive a right to sue letter as to the specific acts of discrimination

 3    sued upon, and thus failed to exhaust her administrative remedies under the FEHA.

 4                                      SIXTH AFFIRMATIVE DEFENSE

 5                                           (Avoidable Consequences)

 6            6.     To the extent Plaintiff alleges violations of the FEHA, which alleged violations Defendant

 7    denies, Plaintiff is barred from recovering any damages under the avoidable consequences doctrine.

 8    Defendant took reasonable steps to prevent and correct workplace discrimination, Plaintiff unreasonably

 9    failed to utilize such available preventive and corrective measures, and reasonable use of such preventive

10    and corrective measures would have prevented at least some of the harm Plaintiff allegedly suffered. See

11    State Dept. of Health Services v. Superior Court of Sacramento County (McGinnis) (2003) 31 Cal.4th

12    1026.

13                                    SEVENTH AFFIRMATIVE DEFENSE

14                                         (Legitimate Business Reasons)

15            7.     Defendant alleges that the conduct by Defendant was at all times lawful, justified and/or

16    privileged under California law and for valid, legitimate business reasons.

17                                    EIGHTH AFFIRMATIVE DEFENSE

18                                               (Reasonable Care)

19            8.     Defendant exercised reasonable care to prevent and correct promptly any and all alleged
20    discriminatory behavior in that Defendant at all relevant times had written policies prohibiting

21    discrimination that were communicated to all employees and strictly enforced.

22                                     NINTH AFFIRMATIVE DEFENSE

23                                            (Managerial Immunity)

24            9.     Recovery for any damages Plaintiff allegedly sustained as a result of any action by a

25    management employee of Defendant is barred by the doctrine of managerial immunity.

26                                     TENTH AFFIRMATIVE DEFENSE

27                                              (Failure to Mitigate)

28            10.    Defendant alleges that even if Plaintiff has suffered damages or injuries, all or some portion


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                         DEFENDANT’S ANSWER TO PLAINTIFF’S COMPLAINT FOR DAMAGES
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 1    of such damages or injuries were caused or attributable to Plaintiff’s failure to take reasonable action to

 2    mitigate the alleged injuries or damages.

 3                                   ELEVENTH AFFIRMATIVE DEFENSE

 4                                          (Unclean Hands and Estoppel)

 5           11.     Defendant alleges that Plaintiff is barred from any relief by the equitable doctrines of

 6    unclean hands and estoppel.

 7                                    TWELFTH AFFIRMATIVE DEFENSE

 8                                                       (Offset)

 9           12.     Defendant alleges that it is entitled to an offset for any monies Plaintiff received from

10    any source after Plaintiff ceased to be employed under the doctrine prohibiting double recovery

11    set forth by Witt v. Jackson (1961) 57 Cal.2d 57 and its progeny.

12                                  THIRTEENTH AFFIRMATIVE DEFENSE

13                                                (Comparative Fault)

14           13.     Defendant alleges that the causes of action asserted in Plaintiff’s Complaint are barred to the

15    extent that the actions or failure to act by Plaintiff contributed entirely, or at least in some degree, to her

16    alleged damages.

17                                   FOURTEENTH AFFIRMATIVE DEFENSE

18                                              (No Punitive Damages)

19           14.     Defendant alleges Plaintiff has no basis for claiming malice, oppression or fraud or any
20    other basis needed to seek punitive damages under the requirements of California Civil Code § 3294.

21                                   FIFTEENTH AFFIRMATIVE DEFENSE

22                                                 (Attorneys’ Fees)

23           15.     Defendant engaged attorneys to represent it in defense of Plaintiff’s frivolous, unfounded

24    and unreasonable action and is thereby entitled to an award of reasonable attorneys’ fees and costs

25    pursuant to California Code of Civil Procedure §128.7 and California Government Code §12965 upon

26    judgment thereon in Defendant’s favor.

27    ///

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                         DEFENDANT’S ANSWER TO PLAINTIFF’S COMPLAINT FOR DAMAGES
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 1                                    SIXTEENTH AFFIRMATIVE DEFENSE

 2                                      (Workers’ Compensation Preemption)

 3               16.      To the extent Plaintiff’s Complaint, or any purported cause of action therein, alleges

 4    emotional or physical injury, this Court lacks jurisdiction, and any recovery is barred by the exclusive

 5    remedy provisions of the California Workers’ Compensation Act, Labor Code § 3200, et seq.

 6                                  SEVENTEENTH AFFIRMATIVE DEFENSE

 7                                                 (Undue Hardship)

 8               17.      Any recovery on Plaintiff’s Complaint, or any purported cause of action alleged therein,

 9    is barred to the extent that accommodation of Plaintiff’s alleged disability would have imposed an undue

10    hardship upon Defendant.

11                                      EIGHTTEENTH AFFIRMATIVE DEFENSE

12                                                       (Arbitration)

13               18.      Plaintiff’s Complaint, and each purported cause of action alleged therein, is subject to

14    binding arbitration, and accordingly this entire action should be resolved by binding arbitration and it

15    should be stayed pending resolution of the arbitration pursuant to the arbitration agreement between the

16    parties.

17

18               Because the Complaint is couched in conclusory terms, Defendant cannot fully anticipate all

19    defenses that may be applicable. Accordingly, Defendant reserves the right to seek leave to amend or add
20    additional affirmative defenses that later may become known to Defendant.

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                           DEFENDANT’S ANSWER TO PLAINTIFF’S COMPLAINT FOR DAMAGES
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 1          WHEREFORE, Defendant prays for judgment as follows:

 2          1.     That Plaintiff take nothing herein;

 3          2.     That the action be dismissed in its entirety and/or judgment be entered in Defendant’s favor

 4                 against Plaintiff;

 5          3.     For reasonable attorneys’ fees pursuant to California Government Code § 12965;

 6          4.     For costs of suit herein; and

 7          5.     For such other and further relief as the Court may deem just and proper.

 8

 9    Dated: January 13, 2021                              JACKSON LEWIS P.C.

10

11

12
                                                     By:
13                                                         Frank E. Melton
                                                           Heidy A. Flores
14
                                                           Attorneys for Defendant AFFINITIV, INC.
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                       DEFENDANT’S ANSWER TO PLAINTIFF’S COMPLAINT FOR DAMAGES
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 1                                            PROOF OF SERVICE

 2    STATE OF CALIFORNIA, COUNTY OF LOS ANGELES

 3    CASE NAME:                AL MERIA ROBERTS v. AFFINITIV, INC.

 4    CASE NUMBER:              20STCV47289

 5            I am employed in the County of Los Angeles, State of California. I am over the age of 18 and not
      a party to the within action; my business address is 725 South Figueroa Street, Suite 2500, Los Angeles,
 6    California 90017.

 7             On January 13, 2021, I served the foregoing document described as:

 8                DEFENDANT’S ANSWER TO PLAINTIFF’S COMPLAINT FOR DAMAGES

 9    in this action by placing true copy thereof enclosed in a sealed envelope addressed as follows:

10                                                 Cory Gould
                                                 Rodney Mesriani
11                                               Brandon Chang
                                          MESRIANI LAW GROUP, PLC
12                                             510 Arizona Avenue
                                            Santa Monica, CA 90401
13                                         Telephone: (310) 826-6300
14                                          Facsimile: (310) 820-1258

15                                             Attorneys for Plaintiff
                                               AL MERIA ROBERTS
16
      [XX] BY E-MAIL OR ELECTRONIC TRANSMISSION
17
             Based on a Court order or on an agreement by the parties to accept service by e-mail or electronic
18    transmission, I caused the document(s) described above to be sent from e-mail address
      Klodya.Casas@jacksonlewis.com to the persons at the e-mail address listed above. I did not receive,
19    within a reasonable time after the transmission, any electronic message or other indication that the
      transmission was unsuccessful.
20
      [X]    STATE I declare under penalty of perjury under the laws of the State of California that the
21    above is true and correct.
22             Executed on January 13, 2021at Los Angeles, California.
23

24                                                              Klodya Casas
                                                           KLODYA CASAS
25
      4832-2083-9382, v. 1
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                             DEFENDANT’S ANSWER TO PLAINTIFF’S COMPLAINT FOR DAMAGES
